






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00645-CV






In re Sabrina Atwater






ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY




M E M O R A N D U M   O P I N I O N



		On the record before us, we cannot conclude that relator is entitled to the relief
sought.  Consequently, we deny her petition for writ of mandamus and motion for temporary relief. 
See Tex. R. App. P. 52.7(a), 52.8(a).


						__________________________________________

						Melissa Goodwin, Justice

Before Justices Pemberton, Rose and Goodwin

Filed:   October 21, 2011


